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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________ X
UNITED STATES OF AMERICA,

                 Plaintiff,
                                        Case No. (S-1) 16-CR-725 (JPO)
       Against

LEV PARNAS,


                 Defendant.

___________________________________ X




       MEMORANDUM OF LAW IN SUPPORT OF PRE-TRIAL MOTIONS




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
___________________________________ X
UNITED STATES OF AMERICA,

                      Plaintiff,
                                                     Case No. (S-1) 16-CR-725 (JPO)
          Against
                                                     MEMORANDUM OF LAW
LEV PARNAS,                                          IN SUPPORT OF
                                                     PRE-TRIAL MOTIONS

                      Defendant.

___________________________________ X


                                      INTRODUCTION

       During the most divisive and corrosive presidency in our nation’s history, the United

States Attorneys’ Office for the Southern District of New York (“USAO SDNY”) elected, first, to

open an investigation into Mr. Parnas and co-defendants, given their national origin and his

support for President Trump and other Republican Political Action Committees (“PAC”) and

legislative candidates, and then, as part of an intervention by Attorney General William P. Barr,

to time Mr. Parnas's indictment and arrest to thwart him from being able to provide evidence to

Congress during the Impeachment Inquiry of President Donald J. Trump.

       Throughout the entirety of the next almost-year, during the unprecedented coronavirus

pandemic, and as Attorney General Barr repeatedly intervened to protect the President’s penal

and political interests, drawing condemnation and calls for his recusal, resignation and

impeachment, the USAO SDNY continued to present evidence to a grand jury, which ultimately
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returned a seven count superseding indictment. The new indictment struck the original

indictment’s marquee allegation that Mr. Parnas had been involved in a foreign influence plot to

remove then-U.S. Ambassador to Ukraine, Marie Yovanovich, and added a wire-fraud

allegation.

       This memorandum of law is submitted in support of Mr. Parnas's pre-trial motions to: (1)

dismiss the indictment under the Due Process Clause to the Fifth Amendment on the grounds of

selective prosecution; (2) dismiss the indictment under the Fifth Amendment and Sixth

Amendments and the Jury Selection and Service Act; (3) sever Counts One, Two and Three

from Counts Four, Five and Six, and Count Seven from all other counts; (4) compel production

of outstanding favorable and impeaching evidence forthwith, pursuant to Brady v. Maryland, 373

U.S. 83 (1963), Giglio v. United States, 405 U.S. 150 (1972), and progeny; (5) join in co-defendants’

motions to the extent that they are in furtherance of and not inconsistent with Mr. Parnas's

defense; (6) reserve rights to file additional motions based upon any newly available evidence

obtained or discovery produced and to supplement the existing motions to the extent required by

such disclosures; and (7) grant Mr. Parnas any such other relief that the Court deems necessary

and proper.

       Mr. Parnas respectfully submits that his motions should be granted. Alternatively, Mr.

Parnas has made legally sufficient showings for the Court to order production of the discovery

requested herein and to schedule an evidentiary hearing.

                                   STATEMENT OF FACTS

       A.      Personal History of Lev Parnas

       Lev Parnas is a 48-year old father of six. He was born in Odessa, Ukraine, and emigrated

to the United States with his family in 1976. He has been a naturalized U.S. citizen for over forty

years. Mr. Parnas was raised primarily in Brooklyn, New York, where he attended public middle
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and high schools. He has also been a licensed securities broker and owned a brokerage firm. Mr.

Parnas currently resides in South Florida, where he moved approximately 25 years ago. Since

approximately 2003, Mr. Parnas has pursued a variety of business ventures, with limited success.

Germane to this case, starting in approximately 2012, Mr. Parnas, along with his co-defendant

David Correia, began a business venture named “Fraud Guarantee,” which aspired

unsuccessfully to produce an anti-fraud insurance vehicle for investors. In approximately 2016,

Mr. Parnas began to become supportive of then-presidential candidate Donald J. Trump, and to

make political pledges and donations to his campaign, the campaigns of other GOP candidates,

and to so-called “Political Action Committees” or PACs. His efforts to become involved in the

nascent legal cannabis industry during this time were not successful.

       During the approximately ten-month period leading up to Mr. Parnas's arrest, he had

been participating on behalf of the Presidents interests, with the President’s long-time personal

attorney, Rudy Giuliani, the President’s now-election attorneys Victoria Toensing and her

husband Joseph DiGenova, and others, in an attempt to gather compromising evidence and

foment a baseless anti-corruption investigation against now-President-Elect Joseph Biden and his

son, Hunter Biden. Mr. Parnas, since nearly the time of his appearance in the Southern District

on October 23, 2019, has sought to cooperate with Congress by providing evidence material to

its impeachment inquiry into the President.

       B.      Indictment and Arrest

       The USAO SDNY commenced its investigation of Mr. Parnas in or about January 2019,

based largely upon the allegations raised in an earlier Federal Election Commission (“FEC”)

complaint against Messrs. Parnas and Fruman. Attorney General Barr was personally apprised of




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the existence of the SDNY investigation into Mr. Parnas shortly after he assumed office, in

February 2019.

                i.      The July 25, 2018 Campaign Legal Center FEC Complaint
                        Against Parnas, Fruman and Global Energy Producers

        On July 25, 2018, Campaign Legal Center filed a complaint against Global Energy

Producers, LLC (“GEP”), Igor Fruman and Lev Parnas.2 Brought pursuant to 52 U.S.C. §

30109(a)(1), it alleged that the defendants has violated the Federal Election Campaign Act

(“FECA”), 52 U.S.C. § § 30101& 30122 by making political contributions to America First

Action (“AFA”) in the name of another person       GEP. Id. The complaint also alleged that GEP

had violated 52 U.S.C. § 30122 by knowingly allowing its name to be used as the source of the

donations, and may have violated 52 U.S.C. § § 30102 & 30103 and 30104 by failing to register

GEP and file disclosure reports as a political committee. Id. at Para. 2.

        The complaint sought civil penalties and injunctive relief, as well as any other remedies

necessary to ensure future compliance with FECA. Id. at Para. 35. Mr. Parnas, along with Mr.

Fruman, had retained counsel and were defending the FEC matter throughout the year, up until

the time of their arrest.

                ii.     The Government’s Criminal Investigation

        In or about January 2019, emanating from the allegations in the FEC complaint as well

as recent information that Mr. Parnas, along with Mr. Giuliani, was beginning to make contact

with Ukrainian former officials for the purposes of gathering information favorable to the



  See New York Times, “Inside Barr’s Effort to Undermine Prosecutors in N.Y.,”
https://www.nytimes.com/2020/06/25/nyregion/geoffrey-berman-william-barr-michael-
cohen.html (June 25, 2020).
2 See Compl. filed by the Campaign Legal Center (July 25, 2018) (online at

https://campaignlegal.org/sites/default/files/2018-07/SIGNED%2007-25-
18%20GEP%20LLC%20Straw%20Donor%20Complaint.pdf).
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President’s political interests, the Government commenced the instant investigation. Throughout

the year, the Government interviewed dozens of witnesses, issued numerous subpoenas, and

sought and was granted multiple warrants for the searches and seizures of various electronic

communications and other materials. The fact that Mr. Parnas and Mr. Fruman were born in

the former Soviet Republics of Ukraine and Belarus, respectively, and then became involved with

Andre Kukushkin, another Ukrainian, in attempts to form a legal cannabis business funded by a

Russian national were played up in charging documents, press conferences, and the media,3 in

the time immediately following the Report on the Investigation into Russian Interference in the

2016 Presidential Election by Special Prosecutor Robert Mueller, which although not

exonerating the President also did not consider whether he committed a crime.

        The Government’s investigation was, apparently, still ongoing and far from its

completion at the time of Mr. Parnas and his co-defendants’ arrest on October 9, 2019. Indeed,

it was not until over eleven months after the original indictment had been returned that the

Government concluded its investigation, and the grand jury voted to return the new charges

contained in the superseding indictment.

               iii.   The August 12, 2019 “Whistleblower Complaint”

        Certain unanticipated events unfolded in Mr. Parnas's case, which created and

accelerated what appears to have been an urgent interest in silencing Parnas from providing

information adverse to President Trump.


3See, e.g., Russian confirmed as source of funds in alleged Parnas, Fruman 'straw donor'
scheme, https://www.sacbee.com/news/california/california-weed/article246311690.html (last
visited Dec. 1, 2020); Pot lawsuit may provide clues to Russian funds in Parnas, Fruman straw
donor scheme, https://www.mcclatchydc.com/news/politics-
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Helped Him on Ukraine Charged With Campaign-Finance Violations,
https://www.wsj.com/articles/two-foreign-born-men-who-helped-giuliani-on-ukraine-arrested-
on-campaign-finance-charges-11570714188 (last visited Dec. 1, 2020).
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         During the summer of 2019, Mr. Parnas's activities with and on behalf of Mr. Giuliani

began to be reported by the media.4 Then, on August 12, 2019, a “whistleblower” sent a letter to

Senator Richard Burr, Chairman of the U.S. Senate Select Committee on Intelligence, and

Congressman Adam Schiff, Chairman of the U.S. House of Representatives Permanent Select

Committee on Intelligence, alleging that:

             In the course of my official duties, I have received information from
             multiple U.S. Government officials that the President of the United States
             is using the power of his office to solicit interference from a foreign country
             in the 2020 U.S. election. This interference includes, among other things,
             pressuring a foreign country to investigate on of the President’s main
             domestic political rivals. The President’s personal lawyer, Mr. Rudolph
             Giuliani, is a central figure in this effort. Attorney General Barr appears to
             be involved as well.

         See Exh. A, at 1, Letter from Whistleblower to Adam B. Schiff, House Permanent Select

Committee on Intelligence, and Richard Burr, Senate Select Committee on Intelligence (Aug.

12, 2019) (online at https://intelligence.house.gov/uploadedfiles/20190812 -

    whistleblower complaint unclass.pdf).

         The Whistleblower asserted that, during a July 25, 2019 telephone call with Ukrainian

President Volodymyr Zelensky, President Trump “sought to pressure the Ukrainian leader to

take actions to help the President’s 2020 reelection bid.” Id. Particularly, “[a]ccording to the

White House officials who had direct knowledge of the call, the President pressured Mr.

Zelensky” to, among other things:

             • Initiate or continue an investigation (footnote omitted) into the activities
               of former Vice President Joseph Biden and son, Hunter Biden;




4 Two Unofficial US Operatives Reporting To Trump's Lawyer Privately Lobbied A Foreign
Government In A Bid To Help The President Win In 2020,
https://www.buzzfeednews.com/article/mikesallah/rudy-giuliani-ukraine-trump-parnas-fruman
(last visited Nov. 28, 2020).
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               • assist in purportedly uncovering that allegations of Russian interference
                 in the 2016 U.S. presidential election originated in Ukraine, with a
                 specific request that the Ukrainian leader locate and turn over servers
                 used by the Democratic National Committee (DNC) and examined by
                 the U.S. cybersecurity firm crowd strike (footnote omitted), which
                 initially reported that Russian hackers had penetrated the DNC’s
                 networks in 2016; and

               • meet or speak with two people the President named explicitly as his
                 personal envoys on these matters, Mr. Giuliani and Attorney General
                 Barr, to whom the President referred multiple times in tandem.

Id. at p. 3.

        The complaint also stated that, according to multiple U.S. officials, “on or about 2

August, Mr. Giuliani reportedly travelled to Madrid to meet with one of President Zelensky’s

advisers, Andriy Yermak,” and that this meeting was “a direct follow-up” to President Trump’s

July 25 call with President Zelensky “about the ‘cases’ they had discussed.” Id. at p. 4. It was

alleged that, “Mr. Giuliani had reportedly privately reached out to a variety of other Zelensky

advisers, including Chief of Staff Andriy Bohdan and Acting Chairman of the Security Services

of Ukraine Ivan Bakanov.” Id. In a footnote, the complaint asserted that, “In a report published

by the Organized Crime and Corruption Reporting Project (OCCRP) on 22 July, two associates

of Mr. Giuliani reportedly travelled to Kyiv in May 2019 and met with Mr. Bakanov and

another close Zelenskyy adviser, Mr. Serhiy Shefir.” Id. at n. 4.

        The Whistleblower’s complaint included allegations involving Mr. Giuliani and his

contacts with then-Ukrainian Prosecutor General Yuriy Lutsenko:

               • It was also publicly reported that Mr. Giuliani had met on at least two
                 occasions with Mr. Lutsenko; once in New York in late January and
                 again in Warsaw in mid-February. In addition, it was publicly reported
                 that Mr. Giuliani had spoken in late 2018 to former Prosecutor General
                 [Victor] Shokin, in a Skype call arranged by two associates of Mr.
                 Giuliani.


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            • On 25 April in an interview with Fox News, the President called Mr.
              Lutsenko’s claims “big” and “incredible” and stated the Attorney
              General “would want to see this.”

Id. at p. 6. (footnote omitted).

        The Whistleblower also refers to learning that Mr. Giuliani and his “associates” were

attempting to “make contact” President-Elect Zelensky’s team:

            • Around the same time, I also learned from a U.S. official that
              “associates” of Mr. Giuliani were trying to make contact with the
              incoming Zelensky team.

See id. (footnote omitted).

        The complaint also referenced a May 9, 2019 New York Times article, which reported

“Mr. Giuliani planned to travel to Ukraine to press the Ukrainian government to pursue

investigations that would help the President in his 2020 reelection bid.” Id. Although on May 10,

the President said in an interview with Politico that he was planning on speaking with Mr. Giuliani

about the trip, the following day, Mr. Giuliani cancelled, claiming “Mr. Zelensky was ‘surrounded

by enemies of the [U.S.] President …and of the United States.’” Id.

        The Whistleblower asserted that, by mid-May 2019, s/he had heard from a number of

U.S. officials who were “deeply concerned by what they viewed as Mr. Giuliani’s circumvention

of national security decision-making processes to engage with Ukrainian officials and relay

messages back and forth between Kyiv and the President.” Id. at p. 7. During this same period,

multiple U.S. Officials had told the Whistleblower that “the Ukrainian leadership was led to

believe that a meeting or phone call between the President and President Zelensky would depend

on whether Zelensky showed willingness to ‘play ball’ on the issues that had been publicly aired

by Mr. Lutsenko and Mr. Giuliani.” Id. at p. 7. It was noted that, “I do not know who conveyed

this message to Ukrainian leadership, or when.” Id.

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       iv.     The Common Cause v. Trump et. al FEC Complaint

       On September 23, 2019, Common Cause, a self-described non-partisan, grass-roots

organization, working to “create open, honest, and accountable government that serves the

public interest; promote[s] equal rights, opportunity, and representation for all; and empower[s]

all people to make their voices heard in the political process,”5 brought its own FEC complaint

against President Trump and Mr. Parnas.6 The complaint also named Rudy Giuliani, Victoria

Toensing, and Igor Fruman as defendants, and alleged that they had violated the Federal

Election Campaign Act (“FECA”) by soliciting a contribution from a foreign national by meeting

with Ukrainian officials and urging that they commence anti-corruption investigations for the

purpose of influencing the presidential election of then-candidate and now President-Elect Joe

Biden. Id. To date, with the exception of Messrs. Parnas and Fruman, none of the individuals

named in this FEC complaint have been criminally charged.

       v.      The U.S. House of Representatives Permanent Select Committee on
               Intelligence Presidential Impeachment Inquiry, and Parnas's
               Congressional Demand Letter

       On September 24, 2019, House Speaker Nancy Pelosi initiated the Impeachment Inquiry

against President Trump.7 That same day, the President released a declassified, non-verbatim

transcript of his July 25 call with President Zelensky.8 The following day, the Whistleblower’s




5 See What is Common Cause?, https://www.commoncause.org/about-us/ (last visited Nov. 29,
2020).
6 See https://www.commoncause.org/wp-content/uploads/2019/09/Signed-Trump-DOJ-

Complaint-9.23.19.pdf
7 See Nancy Pelosi Announces Formal Impeachment Inquiry of Trump,

https://www.google.com/search?q=nancy pelosi begins impeachment inquiry (last visited
Dec. 1, 2020).
8 See Call transcript between President Donald J. Trump, United States of America, and

President Volodymyr Zelensky, Ukraine (July 25, 2019) (online at
https://www.whitehouse.gov/wp-content/uploads/2019/09/Unclassified09.2019.pdf).
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complaint       which the DOJ's criminal division had allegedly investigated and closed without a

finding of wrongdoing was finally presented to Congress and thereafter released to the public.9

        On September 30, 2019, the U.S. House of Representatives Permanent Select

Committee on Intelligence (“HPSCI”) sent a letter to Mr. Parnas, demanding the production of

documentary evidence and deposition testimony. See Exh. B; Letter from Adam B. Schiff, House

Permanent Select Committee, Eliot L. Engel, House Committee on Foreign Affairs, and Elijah

E. Cummings, House Committee on Oversight and Reform, to Lev Parnas (Sept. 30, 2019).10

        The items to be produced included “all documents and communications for the period of

January 20, 2017, through the present, regardless of form and as defined below, referring or

relating to”:

            (1) Paul Manafort, Hunter Biden, Mykola Zlochevsky, Burisma Holdings
            Ltd. ("Burisma"), or any employee or agent of Burisma;

            (2) Efforts, including but not limited to those by you, Rudolph ("Rudy")
            Giuliani, IgorFruman, Vitaly Pruss, Semyon ("Sam") Kislin, Joseph
            diGenova, or Victoria Toensing, to induce, compel, petition, press, solicit,
            suggest, or otherwise pressure current or former Ukrainian government
            officials, politicians, or any persons or entities associated with or acting in
            any capacity as a representative, agent, or proxy for any such individuals,
            to investigate matters related to Burisma, or any U.S. persons or entities,
            including but not limited to Paul Manafort, Hunter Biden, Joseph Biden,
            the Democratic National Committee, or Hillary Clinton, as well as any
            responses by current or former Ukrainian government officials, politicians,
            or other persons of influence, or any persons or entities associated with or
            acting in any capacity as a representative, agent, or proxy for any such
            individuals, concerning the same;

            (3) Serhiy Leshchenko, Igor Kolomoisky, or any persons or entities
            associated with or acting in any capacity as a representative, agent, or
            proxy for these individuals, including but not limited to efforts to induce,

9 Pelosi on Barr's handling of whistleblower complaint: 'He's gone rogue',
https://abcnews.go.com/Politics/pelosi-barrs-handling-whistleblower-complaint-hes-
rogue/story?id=65910745 (last visited Nov. 28, 2020).
 0 Online at

https://oversight.house.gov/sites/democrats.oversight.house.gov/files/documents/20190930%2
0-%20Parnas%20Letter%20and%20Doc%20Request%20Schedule.pdf).
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  compel, petition, press, solicit, suggest, or otherwise pressure current or
  former Ukrainian officials, politicians, or any persons or entities
  associated with or acting in any capacity as a representative, agent, or
  proxy for any such individuals, to investigate matters related to
  Leshchenko and Kolomoisky, and any documents, communications, or
  meetings with former Prosecutor General Yuri Lutsenko related to these
  matters;

  ( 4) The White House, President Donald Trump, Attorney General
  William Barr, Donald Trump Jr., Rudolph ("Rudy") Giuliani, former
  Ambassador Kurt Volker, State Department counselor T. Ulrich
  Brechbuhl, State Department Deputy Assistant Secretary George Kent,
  Assistant Secretary of State for European Affairs A. Wess Mitchell, or
  anyone in or associated with the Trump Administration;

  (5) Former Congressman Pete Sessions, including but not limited to a
  meeting in or about May 2018;

  (6) Former United States Ambassador to Ukraine Marie "Masha"
  Yovanovitch, including but not limited to the former Ambassador's recall
  or dismissal;

  (7) Petro Poroshenko, Volodymyr Zelensky, Nazar Kholodnitsky, Andriy
  Telizhenko, Andriy Yermak, Yuri Lutsenko, Serhiy Shefir, Ivan Bakanov,
  Ruslan Ryaboshapka, Andriy Bogdan, Kostiantyn Kulyk, Victor Shokin,
  Lena ("Olena") Zerkal, Andriy Favorov, Gennady Bogolyubov, or anyone
  who is or has been associated with Ukrainian law enforcement or anti-
  corruption organizations or entities, including but not limited to the office
  of the Prosecutor General, the Special Anti-Corruption Prosecutor's
  Office, or the National Anti-Corruption Bureau of Ukraine (NABU);

  (8) United States foreign assistance to Ukraine, including but not limited
  to the Ukraine Security Assistance Initiative and any efforts to withhold,
  delay, or release security assistance to Ukraine;

  (9) Monies, funds, gifts, contributions, donations, or offers of anything of
  value made directly or indirectly to U.S. political campaigns, candidates,
  parties, political action committees (PACs) and super PACs-including but
  not limited to America First Action, Inc.-by any foreign individuals or
  entities of any type (e.g., government, business, organization, etc.),
  individuals or entities on the Office of Foreign Assets Control's
  (OFAC) list of Specially Designated Nationals and Blocked Persons (SDNs)
  or Sectoral Sanctions Identifications List, or any persons or entities
  associated with or acting in any capacity as a representative, agent, or
  proxy for any such individuals or entities; and


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              (10) The source of any monies, funds, gifts, contributions, donations, or
              offers of anything of value made by Global Energy Producers, LLC or
              Aaron Investments I, LLC to America First Action, Inc., including but not
              limited to a $325,000 donation in May 2018.
Id. at 1-2.

                 vi.     Parnas Obtains Counsel, and Declines to Comply with the
                         Congressional Demand Letter

        Upon learning of the HPSCI demand letter, Mr. Parnas sought counsel. On the

recommendation of Rudy Giuliani, Mr. Parnas met with attorney John Dowd, who had

previously represented President Trump in connection with Special Prosecutor Robert Mueller’s

investigation of former Trump Campaign Chair, Paul Manafort.11 Mr. Dowd then sought a

waiver of any potential conflicts of interest from the President.12 On October 2, 2019, the

President’s impeachment counsel Jay Sekulow confirmed by e-mail that that the President

waived any potential conflict of interest in Dowd representing Mr. Parnas and Mr. [sic] Furman.

Mr. Parnas collected materials responsive to the demand letter, and reconvened with Dowd

several days thereafter in Washington DC.

        On October 3, 2019, John Dowd sent HPSCI a letter advising that, among other things,

Mr. Parnas had “assisted Rudy Giuliani in connection with his representation of President

Trump,” and certain of the items requested were “protected by the attorney-client, work product

and other privileges”:

                 Be advised that Messrs. Parnas and Fruman assisted Mr. Giuliani in
              connection with his representation of President Trump. Mr. Parnas and

   See Dowd resigns as Trump's lawyer amid disagreements on strategy,
https://www.cnn.com/2018/03/22/politics/john-dowd-white-house/index.html (last visited
Nov. 28, 2020).
 2The President has since claimed not to know Mr. Parnas or who he was, notwithstanding

Attorney Sekulow having provided the President’s waiver of potential conflict to Attorney Dowd,
and the emergence of multiple photographs of Parnas together with the President. See, e.g.,
Donald Trump says he doesn't know Lev Parnas. Parnas says he has pictures with
Trump., https://www.usatoday.com/story/news/politics/2020/01/16/impeachment-donald-
trump-says-he-doesnt-know-lev-parnas/4487325002/ (last visited Nov. 29, 2020).
                                              12
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          Mr. Fruman have also been represented by Mr. Giuliani in connection
          with their personal and business affairs. They also assisted Joseph
          DiGenova and Victoria Toensing in their law practice. Thus, certain
          information you seek in your September 30, 2019, letter is protected by
          the attorney-client, attorney work product and other privileges. Given the
          breadth and detail of your request for information, an appropriate
          privilege review cannot reasonably be conducted by October 7, 2019, the
          date you have set to produce documents and communications. The
          amount of time required is difficult to determine, but we are happy to keep
          you advised of our progress and engage in a rolling production of non-
          privileged documents.

              Your request for documents and communications is overly broad and
          unduly burdensome. The subject matter of your requests is well beyond
          the scope of your inquiry. This, in combination with requiring immediate
          responses, leads me to the inescapable conclusion that the Democratic
          Committee members' intent is to harass, intimidate and embarrass my
          clients.

             The "Committees" and its Democratic members are well aware that
          my clients are entitled to retain counsel and counsel is entitled to an
          adequate period of time to get acquainted with the clients, review
          documents, consult with the clients and prepare the clients for any
          potential testimony and document production. Requesting production of
          documents within seven days and requiring testimony within fifteen days is
          unreasonable and not in keeping with your Committees' standard
          procedures.

              Considering the important factual questions and legal issues attendant
          to the alleged whistleblower, your investigation, your authority and
          requests for information, your charter should be amended to exhibit some
          semblance of due process, fairness, justice and common decency.13

       On October 6, 2019, Mr. Parnas met with attorney John Dowd and attorney Kevin

Downing in Washington DC. He provided the materials he believed responsive to the HPSCI

demand letter.


3  See Exh. C Letter from John Dowd to Nicholas A. Mitchell, House Permanent Select
Committee on Intelligence (Oct. 3, 2019).Online at
https://twitter.com/kyledcheney/status/1181299742980132870?ref src=twsrc%5Etfw%7Ctwc
amp%5Etweetembed%7Ctwterm%5E1181311858684432384%7Ctwgr%5E%7Ctwcon%5Es3
&ref url=https%3A%2F%2Fwww.usatoday.com%2Fstory%2Fnews%2Fpolitics%2F2019%2F1
0%2F10%2Fcomic-sans-lawyer-john-dowd-uses-font-replying-impeachment-
letter%2F3928008002%2F
                                              13
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            John M Dowd15


        Later that day, Dowd wrote to HPSCI, 6 as he had indicated he would in his e-mail:

            Kindly refer to my letter of October 3, 2019. This is an update.
            We continue to meet with Mr. Parnas and Mr. Fruman to gather the facts
            and documents related to the many subjects and persons detailed in your
            September 30 letter and to evaluate all of that information in light of the
            privileges we raised in our last letter. This effort will take some additional
            time. Accordingly, Messrs. Parnas and Fruman will not be available for
            depositions scheduled for October 10, 2019.

        The following day, October 9, 2019, Mr. Parnas met with Mr. Giuliani at the BLT

Steakhouse in the Trump Hotel, Washington DC. Mr. Parnas was scheduled to travel later that

evening to Frankfurt, Germany, and then on to Vienna, Austria, to meet with the former

Prosecutor General of Ukraine, Victor Shokin, to prepare him for an appearance on FOX News’

Shawn Hannity Show to discuss Joe Biden. Although Mr. Giuliani, along with Victoria Toensing

and Joseph DiGenova, had originally been scheduled to travel to Vienna with Parnas, Toensing

and DiGenova had cancelled several days earlier, and Mr. Giuliani cancelled that day.

        After finishing meeting with Mr. Giuliani, Mr. Parnas and Mr. Fruman took a car to

Dulles International Airport, where they waited in the Lufthansa lounge for approximately two

hours before beginning to board their flight.

        Unbeknownst to Messrs. Parnas and Fruman, they had been indicted in the SDNY

earlier that day.




5 See Exh. D.
6 Letter from John Dowd to Nicholas A. Mitchell, House Permanent Select Committee on
Intelligence, (Oct. 8, 2019) (emphasis added). Online at
https://oversight.house.gov/sites/democrats.oversight.house.gov/files/documents/2019-10-
08%20Fruman%20Parnas%20Counsel%20Dowd%20to%20HPSCI Redacted.pdf).
                                                15
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         C.      Arrest to Superseding Indictment

                 i.      Arrest

         On the evening of October 9, 2019, as Mr. Parnas and Mr. Fruman were walking down

the jetway, they were stopped and arrested. The indictment returned against them earlier that

day 7 charged four counts against Mr. Parnas       conspiring to make contributions in connection

with federal elections in the names of others and making false statements and falsifying records to

obstruct an FEC inquiry into that conduct, and an entirely separate conspiracy to violate the

Federal Election Act’s prohibition on foreign donations and contributions in connection with

federal and state elections, involving Mr. Parnas and his co-defendants’ alleged attempts to solicit

funds from a foreign national for the purpose of making campaign contributions intended to

secure preferential treatment in the granting of state cannabis licenses.

         Court One of the indictment charged Mr. Parnas, along with Mr. Fruman, with

attempting to make political donations for the purpose of “enhancing their influence in political

circles and gaining access to politicians,” and “to advance their personal financial interests and

the political interests of at least one Ukrainian government official with whom they were

working.” Id. at Para. 13. It also alleged that Mr. Parnas, sought the assistance of

“Congressman-l” in “causing the U.S. Government to remove or recall the then-U.S.

Ambassador to Ukraine.” and that “Parnas’s efforts to remove the Ambassador were conducted,

at least in part, at the request of one or more Ukrainian government officials.” Id. at Para. 17.

This bombshell headline allegation was featured in the USAO SDNY press release on the arrests,

and reverberated throughout the world, rendering Mr. Parnas a near-pariah and serving as a



7   See United States v. Parnas, et. al, 19-CR-725 (JPO) (S.D.N.Y. 2019).
                                                      16
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factor to consider along with the now-debunked Government assertion that Messrs. Parnas and

Fruman were fleeing to Vienna on a one-way ticket        in granting a relatively high $1.0 million

dollar bond to a United States Citizen first-time offender in a fraud case.

       At approximately the same time, Attorney General Barr was meeting with Rupert

Murdoch, then owner of FOX News. 8 Attorney General Barr had known in advance that

Messrs. Parnas and Furman were going to be arrested, and made a “routine” visit to the SDNY

the following morning.   9   Later that day, Mr. Parnas was arraigned in the Eastern District of

Virginia, where he remained detained in the Alexandria County Jail for nearly two weeks before

being released on a $1.0 million bond. United States v. Parnas, 1:19-mj-00443 (E.D.V.A. 2019).

               ii.     Change of Counsel

       During the course of his confinement, Mr. Parnas terminated his relationship with

Attorney Dowd. On October 23, 2019, he made his initial appearance before this Court with the

undersigned counsel and since-relieved co-counsel, Edward B. MacMahon, Jr.

               iii.    Efforts at Compliance with Congressional Subpoena

       On November 1, 2020, the President’s personal attorney, Rudy Giuliani, left a voicemail

message with the undersigned counsel       half of which was inadvertent after Mr. Giuliani forgot

to hang up his phone. In his message, the President’s personal lawyer indicates that he was

calling to see if it was possible to speak about or with Lev Parnas, with his counsel present. Mr.



8  See Vanity Fair, “Trump’s dutiful attorney general, met with Fox News mogul Rupert
Murdoch on Wednesday night,” https://www.vanityfair.com/news/2019/10/why-is-william-
barr-meeting-with-rupert-murdoch (last visited Dec. 1, 2020).
 9 Two Giuliani associates involved in Ukraine probe arrested on campaign finance charges,

https://www.latimes.com/politics/story/2019-10-10/donors-arrested-giuliani-ukraine-
campaign-finance (“Atty. Gen. William Barr was briefed about this investigation in February and
was informed Wednesday night that Parnas and Fruman were about to be arrested, according to
a Justice Department official. Barr visited with prosecutors in the Manhattan office on Thursday,
part of what aides said was a routine check-in visit.”) (last visited Nov. 28, 2020).
                                                 17
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Giuliani then proceeded to provide his cellular phone number before stating to his attorney, who

apparently was also present, “That’s the soon to be gotten rid of number.” See Exh. E.

       Mr. Giuliani’s entreaty to speak with Mr. Parnas went unanswered, and it is unknown

whether Mr. Giuliani actually altered or destroyed any evidence associated with his cellphone,

nor why he might have felt a need to get “rid of” his number. Instead, new counsel informed

HPSCI that Mr. Parnas wished to comply with their previously issued demand and subpoena.

       On November 6, 2019, counsel confirmed to the USAO SDNY that Mr. Parnas wished

to comply fully with Congress’ demands in the impeachment inquiry, including its requests for

the production of documents and testimony. Understanding that the DOJ Office of Legal

Counsel (“OLC”) had issued an opinion that an "indictment or criminal prosecution of a sitting

President would impermissibly undermine the capacity of the executive branch to perform its

constitutionally assigned functions,”20 and that “'under our constitutional plan as outlined in

Article I, sec. 3, only the Congress by the formal process of impeachment, and not a court by any

process should be accorded the power to interrupt the Presidency or oust an incumbent,”2 Mr.

Parnas began to press for the release of evidence to Congress for use in the Impeachment Inquiry

that had been seized from him during the time of his arrest and the contemporaneous execution

of a search warrant of his home, which was being maintained under protective order.

       The Court ordered modification of the protective order on several occasions, to allow

information to be provided to HPSCI for use in its inquiry. To this end, Mr. Parnas provided

several tranches of evidence. On December 18, 2019, the House of Representatives approved



20A Sitting President's Amenability to Indictment and Criminal Prosecution, 24 Op. O.L.C. 222
(2000) (OLC Op.) (online at
https://www.justice.gov/sites/default/files/olc/opinions/2000/10/31/op-olc-v024-
p0222 0.pdf.
2 Id.

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articles of impeachment on charges of abuse of power and obstruction of Congress. On January

14, 2020, HPSCI Chair Adam B. Schiff conveyed a flash drive of evidence to House Judiciary

Committee Chair Jerrold Nadler that included, “some of the records recently produced by Lev

Parnas, an associate of President Trump’s personal attorney, Rudy Giuliani, that are pertinent to

the impeachment inquiry and some of which are described in more detail in the enclosure.” See

Exh. F, Letter and Enclosures.22

        On February 5, 2020, without having viewed a piece of evidence or heard a witness, the

Senate acquitted President Trump of all charges.

               iv.     Parnas Asks Attorney General Barr to Recuse Himself

        On January 20, 2020, Mr. Parnas, through the undersigned counsel, sent Attorney

General Barr a letter-request for his recusal. See Exh. G.23 The request stated, in pertinent part,

that:

               …As explained below, due to the conflict of interest of your being
           involved in these matters as Attorney General, and in an effort to preserve
           the public trust in the rule of law, we request that you recuse yourself and
           allow the appointment of a special prosecutor from outside the
           Department of Justice to handle this case.

               The public record is replete with requests for your recusal, the reasons
           for that request, and public outcry that you have not. Federal ethics
           guidelines bar federal employees from participating in matters in which
           their impartiality could be questioned, including matters in which they
           were personally involved or about which they have personal knowledge. 5
           C.F.R. § 2635.502; Justice Manual§ 1-4.020.

              The July 25, 2019 transcript of President Trump's call with Ukrainian
           President Volodymyr Zelensky contains multiple references to you, alone
           and in conjunction with the President's attorney, Rudolf Giuliani, as being

22 House Democrats release new documents from indicted Giuliani associate CBS News,
https://www.cbsnews.com/news/lev-parnas-house-democrats-release-new-ukraine-documents-
from-indicted-giuliani-associate-today-2020-01-14/. (last visited Dec. 2, 2020).
23 Letter from Joseph A. Bondy, attorney of Lev Parnas, to William P. Barr, Attorney General of

the United States (Jan. 20, 2020) (online at
https://twitter.com/josephabondy/status/1219412808938545153).
                                               19
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  the point person for the Zelensky administration to work with in
  commencing an investigation into the President's chief political rival,Joe
  Biden. (Exhibit A).

      In the August 12, 2019, whistleblower complaint, you were personally
  named as a participant in the President's abuse of the power of his office to
  solicit interference with the government of Ukraine in connection with the
  2020 election, including pressuring Ukraine to investigate one of the
  President's political opponents,Joe Biden. (Exhibit B).

      On October 23, 2019, the New York City Bar Association called upon
  you to recuse yourself from all Department of Justice matters relating to
  the allegations that the President abused the power of his office to solicit
  political interference on his behalf by the government of Ukraine. (Exhibit
  C).

     On October 24, 2019, the United States Senate Judiciary Committee
  Democrats urged you to recuse yourself from investigation into Trump-
  Ukrainian matters involving Lev Parnas, his current codefendant Igor
  Fruman, and the President's personal attorney, Rudy Giuliani. (Exhibit D).

      On January 9, 2020, The New York City Bar Association, having
  received no reply to its earlier call for recusal, asked Congress to
  investigate you for acting as a "political partisan ... willing to use the levers
  of government to empower certain groups over others." (Exhibit E).

      In recent days, evidence has been brought to light linking you further
  to your long-time colleagues Victoria Toensing and Joseph di Genova, as
  well as Mr. Guiliani, which undoubtedly creates at least the public
  appearance of a conflict of interest.

      In addition to harmful perceptions, this conflict of interest appears to
  have caused actual harm to Mr. Parnas who, given delays in the
  production of discovery in his federal case, was rendered unable to comply
  with a duly-issued congressional subpoena in time for congressional
  investigators to make complete use of his materials or properly assess Mr.
  Parnas as a potential witness. Furthermore, prosecutors have, thus far,
  refused to meet with Mr. Parnas and to receive his information regarding
  the President, Messrs. Giuliani, Toensing, diGenova and others-all of
  which would potentially benefit Mr. Parnas if he were ever to be convicted
  and sentenced in his criminal case.

      The criteria informing whether an Attorney General should recuse
  him or herself from a matter and allow the appointment of a special
  prosecutor is whether a prosecution or investigation of a "matter " or of a
  person may raise a conflict of interest for the Department of Justice, or
  whether there exists,
                                        20
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              "other extraordinary circumstances," and when, in light of these conflicts
              or circumstances, the Attorney General finds it is in the "public interest" to
              appoint such counsel. 28 C.F.R. §§ 600.1-2 (1999).1 If the Attorney
              General is recused from a matter, then the Acting Attorney General will
              appoint a special prosecutor when deemed warranted. Here, the issues
              involved concern the apparent conflict of interest in your being tasked with
              investigating the President, certain members of his administration, and
              your longterm colleagues and friends, and the appearance of such conduct
              as undermining the public's interest in due administration and trust in the
              rule of law.
id. at 1-2.

        Attorney General Barr never responded to Mr. Parnas's request for recusal.

                 v.      Attorney General Barr Disavows Ukrainian Sourced Evidence

        On February 10, 2020, United States Attorney General William P. Barr made several

public statements regarding the “providence” and “credibility” problems presented by

“information coming in about Ukraine,” none of which could be received “at face value.”24 These

included:

        • “The DOJ has the obligation to have an open door to anybody who wishes to
          provide us information that they think is relevant, but as I did say to Senator
          Graham, we have to be very careful with respect to any information coming
          from the Ukraine.”25

        • "There are a lot of agendas in the Ukraine, there are a lot of cross-currents and
          we can't take anything we receive from the Ukraine at face value”26

        • “And for that reason we had established an intake process in the field so that any
          information coming in about Ukraine could be carefully scrutinized by the
          department and its intelligence community partners so that we could assess its
          providence and its credibility.”27

24 See ABC News Politics (@ABCPolitics), TWITTER (Feb. 10, 2020, 12:29pm),
https://twitter.com/ABCPolitics/status/1226921058051219464?ref_src=twsrc%5Etfw%7Ctwc
amp%5Etweetembed%7Ctwterm%5E1226921058051219464%7Ctwgr%5E%7Ctwcon%5Es1_
&ref_url=https%3A%2F%2Fabcnews.go.com%2FPolitics%2Fag-barr-doj-review-giuliani-
documents-info-ukraine%2Fstory%3Fid%3D68884719.
25 Id.
26 Id.
27 See id.

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(emphases added.)

               vi.     Attorney General Barr’s Other Actions as the President’s
                       “Sword and Shield”28

       In addition to intervening to attempt to ensure that Mr. Parnas was not in a position to

provide damaging testimony against the President in the impeachment inquiry, Attorney General

Barr engaged in a pattern of conduct since that creates a strong inference that his modus operandi is

to intervene in pending DOJ matters in an effort to shield the President from potentially

damaging penal and political consequences.

       Thus, since the time of Mr. Parnas's arrest, Attorney General Barr has been criticized for

his conduct in a variety of matters, including: (1) on February 11, 2020, immediately after the

President tweeted complaining about the recommended sentence in the Roger Stone case, the

Attorney General intervened to recommend a more lenient sentence,29 precipitating the

resignation of the prosecution team,30 the signing of a letter by over 2,000 DOJ alumni calling for

his resignation,3 and a House Judiciary Committee demand for his testimony regarding the

Roger Stone case as well as the recent creation of a DOJ backchannel for receipt of evidence

obtained by Rudy Giuliani in Ukraine that purported to show wrongdoing by Joe and Hunter




28 See William Barr, Trump’s Sword and Shield,
https://www.newyorker.com/magazine/2020/01/20/william-barr-trumps-sword-and-shield
(accessed November 30, 2020).
29 Roger Stone Sentencing Was Politicized, Prosecutor Plans to Testify,

https://www.nytimes.com/2020/06/23/us/politics/roger-stone-sentencing-politicized.html (last
visited Nov. 28, 2020).
30 All 4 federal prosecutors quit Stone case after DOJ overrules prosecutors on sentencing

request, https://www.cnn.com/2020/02/11/politics/roger-stone-sentencing-justice-
department/index.html (last visited Nov. 28, 2020).
3 More than 2,000 former prosecutors and other DOJ officials call on Attorney General Bill

Barr to resign, https://www.cnn.com/2020/02/16/politics/prosecutors-doj-officials-barr-
resign/index.html (last visited Nov. 28, 2020).
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Biden32; (2) on February 14, 2020, Attorney General Barr assigned an outside prosecutor to

review the Michael Flynn case,33 ultimately leading to DOJ’s motion for dismissal34      something

which former EDNY judge John Gleeson has described as “highly irregular conduct to benefit a

political ally of the president” and “clear evidence of gross abuse of prosecutorial power”35; (3) on

June 1, 2020, Attorney General Barr ordered federal officers to push back anti-Trump protestors,

using fire chemical deterrents and rubber bullets, in Lafayette Square, Washington DC36; (4) on

June 19, 2020, in an act that could well be related to the instant case, Attorney General Barr

visited the SDNY to solicit the resignation of then-United States Attorney Geoffrey Berman.37

Although USA Berman declined, DOJ published a press release indicating Berman’s

resignation.38 When USA Berman denied that he was resigning, the following day, AG Barr sent

a letter to Berman stating that the President had fired him39; (5) on June 24, 2020, the House


32 Bill Barr confirms DOJ is receiving Ukraine information from Rudy Giuliani,
https://www.axios.com/bill-barr-justice-department-ukraine-giuliani-Bidens-275f0649-925e-
4d73-a117-4c588a2c573c.html (last visited Nov. 28, 2020).
33 Barr Installs Outside Prosecutor to Review Case Against Michael Flynn, Ex-Trump Adviser,

https://www.nytimes.com/2020/02/14/us/politics/michael-flynn-prosecutors-barr.html (last
visited Nov. 28, 2020).
34 See READ: DOJ motion to dismiss Flynn case, https://thehill.com/regulation/496649-read-

doj-motion-to-dismiss-flynn-case (last visited Dec. 2, 2020).
35 Retired Judge Says Flynn's Guilty Plea Must Stand,

https://www.courthousenews.com/retired-judge-says-flynns-guilty-plea-must-stand/ (last visited
Nov. 28, 2020).
36 Barr personally ordered law enforcement to push back Lafayette Square protesters,

https://thehill.com/homenews/administration/500736-barr-personally-ordered-law-
enforcement-to-push-back-lafayette-square (last visited Nov. 28, 2020).
37 Berman says Barr 'repeatedly urged' him to resign as top SDNY prosecutor,

https://www.marketwatch.com/story/berman-says-barr-repeatedly-urged-him-to-resign-as-top-
sdny-prosecutor-2020-07-09 (last visited Nov. 28, 2020).
38 Dep’t of Justice, Attorney General William P. Barr On The Nomination Of Jay Clayton To

Serve As U.S. Attorney For The Southern District Of New York. (June 19, 2020) (online at
https://www.justice.gov/opa/pr/attorney-general-william-p-barr-nomination-jay-clayton-serve-
us-attorney-southern-district).
39 Letter from William P. Barr, Attorney General of the United States, to Geoffrey Berman,

former United States Attorney for the Southern District of New York, (June 20, 2020) (online at

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Judiciary Committee called for AG Barr’s impeachment40; (6) on July 28, 2020, AG Barr

announced plans to release Special Prosecutor John Durham’s findings on the investigation into

the origins of the Russia Investigation just prior to the election4 ; (7) on September 8, 2020, AG

Barr sought to have the DOJ intervene in a defamation lawsuit filed against the President by Jean

Carroll42; (8) on September 11, 2020, a top aide of Special Prosecutor Durham resigned over

concerns of political pressure on Durham in his investigation43; and (9) on September 16, 2020,

AG Barr was reported to have pushed for sedition charges to be filed against protesters and

prosecution of the Seattle Mayor, in connection with protests related to police shootings of

unarmed citizens,44 and also to have endorsed the personal intervention of the Attorney General

in certain criminal prosecutions.45 These instances are merely a representative sample of AG

Barr’s willingness to intervene in favor of President Trump’s personal and political agenda.




https://context-cdn.washingtonpost.com/notes/prod/default/documents/febfd776-1bc3-4e20-
9a88-0e944ba99e3c/note/97ee92d4-dea5-42f0-9f25-8240522ebff1.#page).
40 Nadler says House 'may very well' pursue impeachment of Attorney General William Barr,

https://www.cnn.com/2020/06/24/politics/attorney-general-william-barr-testify-
congress/index.html (last visited Nov. 28, 2020).
4 Barr won't rule out pre-election release of Durham report POLITICO,

https://www.politico.com/news/2020/07/28/barr-pre-election-release-durham-report-385244
(last visited Dec. 2, 2020).
42 White House Asked Justice Dept. to Take Over Defamation Suit Against Trump, Barr Says

The New York Times, https://www.nytimes.com/2020/09/09/us/politics/trump-e-jean-
carroll-lawsuit.html (last visited Dec. 2, 2020).
43 Prosecutor resigns from U.S. attorney's investigation into origins of Trump-Russia probe The

Washington Post, https://www.washingtonpost.com/national-security/nora-dannehy-john-
durham-trump-russia/2020/09/11/8bf49890-f466-11ea-b796-2dd09962649c story.html (last
visited Dec. 2, 2020).
44 Barr Told Prosecutors to Consider Sedition Charges for Protest Violence The New York

Times, https://www.nytimes.com/2020/09/16/us/politics/william-barr-sedition.html (last
visited Dec. 2, 2020).
45 Injustice: Tracking Bill Barr's Misconduct as Attorney General Project On Government

Oversight, https://www.pogo.org/analysis/2020/09/injustice-tracking-bill-barrs-misconduct-as-
attorney-general/ (last visited Dec. 2, 2020).
                                                  24
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         D.     The COVID-19 Pandemic

         As of November 30, 2020, there are a total of 63,189,103 global confirmed COVID-19

cases, 1,466,762 global deaths, 13,536,216 U.S. confirmed cases, and 267,987 U.S. deaths. The

number of coronavirus cases and deaths, and the overall positivity rates are skyrocketing out of

control. Although several vaccines have been recently identified, they will not be widely

available, it is believed, until at earliest the third quarter of 2021.

                                        LEGAL ARGUMENT

    I.        THE INDICTMENT MUST BE DISMISSED, BECAUSE IT WAS
              OBTAINED IN VIOLATION OF THE DUE PROCESS CLAUSE OF
              THE FIFTH AMENDMENT TO THE UNITED STATES
              CONSTITUTION. ALTERNATIVELY, DISCOVERY AND AN
              EVIDENTIARY HEARING SHOULD BE ORDERED

         A.     Law of Selective Prosecution

         In this case, there is reasonable basis to conclude     not merely hyperbolic allegations

that the prosecution of Mr. Parnas has been discriminatory in both purpose and effect.

         Admittedly, a defendant challenging the Government’s decision to prosecute him bears a

heavy burden. United States v. Armstrong, 517 U.S. 456, 463 64 (1996). Federal prosecutors retain

“broad discretion to enforce the Nation’s criminal laws.” Id. at 464 (internal quotation marks

omitted). Accordingly, “‘[t]he presumption of regularity supports ’their prosecutorial decisions

and, ‘in the absence of clear evidence to the contrary, courts presume that they have properly

discharged their official duties.’” Id. quoting United States v. Chem. Found., Inc., 272 U.S. 1, 14 15

(1926); see also, e.g., Wayte v. United States, 470 U.S. 598, 607 (1985).




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        To establish a claim of selective prosecution, a defendant must present “clear evidence”

that the decision to prosecute not only (1) “had a discriminatory effect” but was also (2)

“motivated by a discriminatory purpose.” Armstrong, 517 U.S. at 465; United States v. Alameh, 341

F.3d 167, 173 (2d Cir. 2003); United States v. Fares, 978 F.2d 52, 59 (2d Cir. 1992); United States v.

Moon, 718 F.2d 1210, 1229 (2d Cir. 1983).

        With respect to the first requirement     discriminatory effect    a defendant must establish

that ‘“others similarly situated have not generally been proceeded against because of conduct of

the type forming the basis of the charge against the defendant’” and that the defendant has been

‘“singled out.’” Fares, 978 F.2d at 59 (quoting Moon, 718 F.2d at 1229) (alteration incorporated);

see also Cobb v. Pozzi, 363 F.3d 89, 110 (2d Cir. 2004) (same).

        With respect to the second requirement       discriminatory purpose      a defendant must

establish that the Government’s “selection of the defendant for prosecution has been invidious or

in bad faith, i.e., based upon such impermissible considerations as race, religion, or the desire

to prevent his exercise of constitutional rights.” Fares, 978 F.2d at 59 (emphasis added)

(internal quotation marks omitted; alteration incorporated). This means more than that the

Government acted with an “awareness of consequences.” Wayte, 470 U.S. at 610 (internal

quotation marks omitted). Rather, it must have “selected or reaffirmed a particular course of

action at least in part because of, not merely in spite of, its adverse effects.” Id. (internal quotation

marks omitted). Where a defendant “has not shown that the Government prosecuted him

because of” his protected status or conduct, his claim fails. Id. (emphasis in the original).

        To obtain discovery on a claim of selective prosecution, Mr. Parnas “must provide ‘some

evidence tending to show the existence of the essential elements of the defense,’” United States v.

                                                   26
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Sanders, 211 F.3d 711, 717 (2d. Cir. 2000) (quoting United States v. Berrios, 501 F.2d 1207, 1211 (2d

Cir. 1974), “and that the documents in the government’s possession would indeed be probative of

these elements.” Berrios, 501 F.2d at 1211 12. That is, Mr. Parnas first “must show some evidence

of both discriminatory effect and discriminatory intent.” United States v. Bass, 536 U.S. 862, 863

(2002) (per curiam); see also Fares, 978 F.2d at 59 (same). “Mere assertions and generalized proffers

on information and belief are insufficient” to meet this burden. Id.

        A movant must offer “at least a colorable claim” that (1) he or she was singled out for

prosecution from among others similarly situated, and (2) that his or her prosecution was

improperly motivated. See United States v. Al Jibori, 90 F.3d 22, 25 (2d. Cir. 1996); United States v.

Washington, 705 F.2d 489, 494 (D.C. Cir. 1983); Attorney General v. Irish People, Inc., 684 F.2d 928,

932 (D.C. Cir. 1982); Synanon Church v. United States, 579 F.Supp. 967, 977 (D. D.C. 1984). The

“colorable claim” standard is met with the proffer of “some evidence tending to show the

existence of the essential elements of the [claim].” See United States v. Armstrong, 517 U.S. at 468;

Attorney General v. Irish People, Inc., 684 F.2d at 932 (colorable showing must be made for both

prongs of test).

        B.         Law Applied to the Facts

        Mr. Parnas respectfully submits that he has more than met this standard, and that his

indictment should be dismissed. Alternatively, he submits that ordering production of the items

requested infra and scheduling an evidentiary hearing is appropriate.

        First, as to "discriminatory intent,” Millions of Americans already believe that Attorney

General Barr may have interfered in some aspect of Mr. Parnas's investigation and prosecution,




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based on the public record.46 This widely held belief undermines public confidence in the due

administration of justice. Mr. Parnas’s due process rights, the integrity of the due administration

of justice and the USAO SDNY, and the public interest in holding government accountable to

the law all require that the evidentiary record be revealed, and any constitutional deficiencies be

identified and corrected.

       Mr. Parnas's long-standing assertion that Attorney General Barr ordered the timing of his

indictment and arrest as a means to protect the President and thwart his potential testimony in

the impeachment inquiry has been substantially strengthened since the time of Parnas's

unanswered January 20, 2020 request for AG Barr’s recusal. Since then the Attorney General

has abused the power of his position to further the political interests of the President repeatedly.

As set forth above, examples include intervening to recommend a more lenient sentence for

Roger Stone,47 which led to the resignation of the prosecution team48 and signing of a letter by




46 See, e.g., Lev Parnas is afraid of Bill Barr: he should be,
https://www.salon.com/2020/01/26/lev-parnas-is-afraid-of-bill-barr-he-should-be partner/
(last visited Nov. 28, 2020). Seth Abramson (@SethAbramson), Twitter (June 25, 2020, 9:22
PM), https://twitter.com/SethAbramson/status/1276324822788775936; Kerry Eleveld
(@Kerryeleveld) Twitter (Jan. 20, 2020, 5:07
PM), https://twitter.com/kerryeleveld/status/1219380960283676672; Lev Parnas ran to
Maddow over fear Justice Department officials would bury Bill Barr allegations: ex-prosecutor,
https://www.rawstory.com/2020/01/lev-parnas-ran-to-maddow-over-fear-justice-department-
officials-would-bury-bill-barr-allegations-ex-prosecutor/ (last visited Dec. 1, 2020); Glenn
Kirschner (@glennkirschner2) Twitter (Jan. 18,
2020) https://twitter.com/glennkirschner2/status/1218638658225483778; Jon Cooper
(@joncoopertweets) Twitter (Jan. 26,
2020) https://twitter.com/joncoopertweets/status/1221474721516150784.
47 Roger Stone Sentencing Was Politicized, Prosecutor Plans to Testify,

https://www.nytimes.com/2020/06/23/us/politics/roger-stone-sentencing-politicized.html (last
visited Nov. 28, 2020).
48 All 4 federal prosecutors quit Stone case after DOJ overrules prosecutors on sentencing

request, https://www.cnn.com/2020/02/11/politics/roger-stone-sentencing-justice-
department/index.html (last visited Nov. 28, 2020).
                                                     28
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more than 2,000 DOJ alumni calling for his resignation,49 and a Congressional demand for his

testimony regarding the Stone case and the DOJ’s recently created backchannel for receipt of

evidence obtained by Rudy Giuliani in Ukraine that was believed to be adverse to Joe and

Hunter Biden50, assigning an outside prosecutor to review the Michael Flynn case,5 ultimately

leading to DOJ’s motion for dismissal52   “highly irregular conduct to benefit a political ally of

the president” and “clear evidence of gross abuse of prosecutorial power.”53 More recently, AG

Barr has ordered federal officers to push disperse anti-Trump protestors using chemical

deterrents and rubber bullets in Lafayette Square, Washington DC,54 visited the SDNY to solicit

the resignation of then-United States Attorney Geoffrey Berman,55 falsely stated USA Berman

had resigned,56 and then, after USA Berman’s denial, sent him a letter stating that the President




49 More than 2,000 former prosecutors and other DOJ officials call on Attorney General Bill
Barr to resign, https://www.cnn.com/2020/02/16/politics/prosecutors-doj-officials-barr-
resign/index.html (last visited Nov. 28, 2020).
50 Bill Barr confirms DOJ is receiving Ukraine information from Rudy Giuliani,

https://www.axios.com/bill-barr-justice-department-ukraine-giuliani-Bidens-275f0649-925e-
4d73-a117-4c588a2c573c.html (last visited Nov. 28, 2020).
5 Barr Installs Outside Prosecutor to Review Case Against Michael Flynn, Ex-Trump Adviser,

https://www.nytimes.com/2020/02/14/us/politics/michael-flynn-prosecutors-barr.html (last
visited Nov. 28, 2020).
52 See READ: DOJ motion to dismiss Flynn case, https://thehill.com/regulation/496649-read-

doj-motion-to-dismiss-flynn-case (last visited Dec. 2, 2020).
53 Retired Judge Says Flynn's Guilty Plea Must Stand,

https://www.courthousenews.com/retired-judge-says-flynns-guilty-plea-must-stand/ (last visited
Nov. 28, 2020).
54 Barr personally ordered law enforcement to push back Lafayette Square protesters,

https://thehill.com/homenews/administration/500736-barr-personally-ordered-law-
enforcement-to-push-back-lafayette-square (last visited Nov. 28, 2020).
55 Berman says Barr 'repeatedly urged' him to resign as top SDNY prosecutor,

https://www.marketwatch.com/story/berman-says-barr-repeatedly-urged-him-to-resign-as-top-
sdny-prosecutor-2020-07-09 (last visited Nov. 28, 2020).
56 Dep’t of Justice, Attorney General William P. Barr On The Nomination Of Jay Clayton To

Serve As U.S. Attorney For The Southern District Of New York. (June 19, 2020) (online at
https://www.justice.gov/opa/pr/attorney-general-william-p-barr-nomination-jay-clayton-serve-
us-attorney-southern-district).
                                                 29
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had fired him.57 Thereafter, on June 24, 2020, the House Judiciary Committee called for AG

Barr’s impeachment,58 AG Barr announced plans to release Special Prosecutor John Durham’s

findings on the investigation into the origins of the Russia Investigation just prior to the

election,59 sought to have the DOJ intervene in a defamation lawsuit filed against the President

by Jean Carroll,60 reportedly pushed for sedition charges to be filed against protesters and for the

prosecution of the Seattle Mayor in connection with protests related to police shootings of

unarmed citizens,6 and endorsed his personal intervention in certain criminal prosecutions.62

This non-exhaustive list is indicative of AG Barr’s willingness to intervene in favor of President

Trump’s personal and political agenda.

        As to “discriminatory effect,” Mr. Parnas was singled out for criminal investigation and

prosecution on Federal Election Act violations that were already the subject of a pending FEC

complaint, due in part to what appears to be Mr. Parnas's national origin and his protected

political beliefs, and thereafter his interest in exercising his constitutional right to comply with a



57 Letter from William P. Barr, Attorney General of the United States, to Geoffrey Berman,
former United States Attorney for the Southern District of New York, (June 20, 2020) (online at
https://context-cdn.washingtonpost.com/notes/prod/default/documents/febfd776-1bc3-4e20-
9a88-0e944ba99e3c/note/97ee92d4-dea5-42f0-9f25-8240522ebff1.#page).
58 Nadler says House 'may very well' pursue impeachment of Attorney General William Barr,

https://www.cnn.com/2020/06/24/politics/attorney-general-william-barr-testify-
congress/index.html (last visited Nov. 28, 2020).
59 Barr won't rule out pre-election release of Durham report POLITICO,

https://www.politico.com/news/2020/07/28/barr-pre-election-release-durham-report-385244
(last visited Dec. 2, 2020).
60 White House Asked Justice Dept. to Take Over Defamation Suit Against Trump, Barr Says

The New York Times, https://www.nytimes.com/2020/09/09/us/politics/trump-e-jean-
carroll-lawsuit.html (last visited Dec. 2, 2020).
6 Barr Told Prosecutors to Consider Sedition Charges for Protest Violence The New York

Times, https://www.nytimes.com/2020/09/16/us/politics/william-barr-sedition.html (last
visited Dec. 2, 2020).
62 Injustice: Tracking Bill Barr's Misconduct as Attorney General Project On Government

Oversight, https://www.pogo.org/analysis/2020/09/injustice-tracking-bill-barrs-misconduct-as-
attorney-general/ (last visited Dec. 2, 2020).
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Congressional demand. Other similarly situated people including any and all other individuals

involved the conduct attributed to Mr. Parnas were not criminally prosecuted. Among these are

the America First Action PAC, which received the donations from Messrs. Parnas and Fruman,

and several GOP candidates who also received campaign donations.

        Since there is “some evidence of both discriminatory effect and discriminatory intent,”

United States v. Bass, 536 U.S. 862 at 863 (2002) (per curiam), and not “mere assertions and

generalized proffers on information and belief,” id., Mr. Parnas respectfully requests that the

Court order the production of the following discovery items, and schedule an evidentiary

hearing:

        1.      Whether there was any involvement or influence of the Attorney General in any

decisions in this case;

        2.      Any information, whether documentary or otherwise, regarding the decision not

to prosecute (a) America First Action PAC and (b) Protect the House PAC for their alleged

receipt of improper campaign donations and alleged failure to report the source of these funds;

not to prosecute (c)                    , (d)               or (e)                  for their

alleged providing of money to defendants Fruman and Parnas that was later used to make

political contributions; not to prosecute (f)                for the alleged improper funding of

Mr. Parnas's rental property; not to prosecute (g) US Representative Kevin McCarthy, (h) Vice

President Mike Pence, and (i) the Great America PAC for their alleged improper receipt of

campaign donations.

        3.      All internal documents, including memoranda, notes, e-mails, and text messages

that, in any way, reference the reasons why Mr. Parnas was investigated, arrested and/or

charged in this case;


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       4.         All internal documents, including memoranda, notes, e-mails, and text messages

that, in any way, reference the reasons why individuals and entities including but not limited to,

America First Super PAC,                     , Rudy Giuliani, President Donald J. Trump, Victoria

Toensing, Joseph DiGenova, and John Solomon, were not arrested or charged with Mssrs.

Parnas and Igor Fruman;

       5.         A list of all SDNY indictments within the past 5 years that charge Federal Election

Act violations;

       6.         All oral and written communications, including but not limited to memoranda,

emails, text messages, and the like, between the USAO-SDNY and the Department of Justice

regarding the timing of the decision to indict and arrest Messrs. Parnas and Fruman;

       7.         All oral and written communications, including but not limited to memoranda,

emails, text messages, and the like, between the USAO-SDNY and the Department of Justice

regarding the decision not to arrest or charge any other individuals; and

       8.         All oral and written communications, including but not limited to memoranda,

emails, text messages, and the like, between the USAO-SDNY and/or the Department of Justice,

Attorney General William P. Barr, and the White House, President Trump, or anyone on his

behalf (e.g., his personal counsel), regarding Mr. Parnas.

       8.         All documents reflecting any communication regarding Mr. Parnas between the

USAO-SDNY and/or the Department of Justice and the White House, President Trump, or

anyone on his behalf (e.g., his personal counsel).

       Given the Attorney General’s record since the inception of this case, the materials

requested are important to examining the decisions to prosecute Mr. Parnas in this case,

including the timing of the return of his indictment and arrest, and whether they were influenced

by politics, or the Attorney General’s interest in shielding the President in any way. These are
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questions of constitutional significance to Mr. Parnas and national importance to us all, and it is

time for any such materials to be disclosed.

   II.        DISCOVERY AND AN EVIDENTIARY HEARING MUST ORDERED AND
              THE INDICTMENT THEN DISMISSED BECAUSE IT WAS OBTAINED
              IN VIOLATION OF THE FIFTH AND SIXTH AMENDMENTS TO THE
              UNITED STATES CONSTITUTION AND THE JURY SELECTION AND
              SERVICE ACT

         A.     The Applicable Law

                i.      Quorum

         In United States v. Reyes, 921 F.Supp. 189 (S.D.N.Y. 1996), the court ordered the

government to produce grand jury attendance and voting records, where the defendant

produced documents obtained from the Jury Administrator proving that ten members of the

grand jury that returned a third superseding indictment were in fact not members of the grand

jury when it voted for the original, first and second superseding indictments. Finding a valid

question of potential government misconduct in failing to present all evidence upon which its

earlier indictments were based, the court ordered the government to produce all grand jury

attendance and voting records.

                ii.     Original Presentment and Later “Streamlining” of
                        Count One in the Superseding Indictment

         Just as it is unfair to obtain an indictment based upon false evidence, United States v.

Ciambrone, 601 F.2d 616, 622 23 (2d Cir. 1979), so too is it unfair to mislead a grand jury through

multiple omissions into thinking it is receiving evidence from reliable sources.

         Prosecutors owe a high duty of good faith to the court, the grand jury, and the defendant

to screen out unreliable witnesses. Justice Department policy thus requires prosecutors to disclose

"substantial evidence that directly negates the guilt of a subject of the investigation" to the grand

jury before seeking an indictment. See JM 9 11.233.

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                iii.    Fair Cross-Section Requirement

        In challenging the composition of the grand jury in this case, Mr. Parnas requests

production of all records and papers used in connection with the constitution of the Master and

Qualified Jury Wheels in the United States District Court for the Southern District of New York,

pursuant to the Fifth and Sixth Amendments to the United States Constitution and the Jury

Selection and Service Act (“JSSA”), 28 U.S.C. §§ 1867(a) and (f). Section 1867(f) of Title 28 of the

United States Code states that “the parties shall …be allowed to inspect, reproduce, and copy …

records or papers [used by the commission or clerk in connection with the jury selection process]

at all reasonable times during the preparation and pendency of …a motion under subsection (a).”

See also Test v. United States, 420 U.S. 28, 30 (1975) (right to inspect records is supported “not only

by the plain text of the statute, but also by the statute’s overall purpose in insuring grand and

petit juries selected at random from a fair cross section on the community”), quoting 28 U.S.C. §

1861(d).

        To invoke the right to inspect under 28 U.S.C. § 1867(f) and “[t]o avail himself of [the]

right of access to otherwise unpublic jury selection records, a litigant needs only allege that he [or

she] is preparing a motion challenging the jury selection procedures.” United States v. Alden, 776

F.2d 771, 773 (8th Cir. 1985) (internal citations omitted). The Defendants are not required to

make any showing with respect to probabilities of success of such a motion. See, e.g., United States v.

Royal, 100 F.3d 1019, 1025 (1st Cir. 1996); see also United States v. Gotti, No. (S-8) 02-CR-

743(RCC), 2004 WL 2274712, at *5 (S.D.N.Y. Oct. 7, 2004) (granting motion for discovery even

absent any showing that information would reveal a violation).




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       B.      Law Applied to the Facts

       Here, the Defendants’ superseding indictment was filed on September 17, 2020. Despite

having asked the Government on November 24, 2020, and again in writing on November 27,

2020, to confirm the location and circumstances of the grand jurors who returned the

indictment, the Government was not able to do so. The Defendants thus have no assurances that

they were indicted by a quorum of grand jurors sitting in Manhattan, notwithstanding the

COVID-19 crisis, and indeed are aware of a number of contemporaneous challenges to the jury

selection process in the SDNY on fair cross-section grounds. The unusual circumstances of the

time the indictment was returned the Southern District Courthouse had been largely closed

and many members of the public were avoiding public appearances, self-isolating, in quarantine

or otherwise under a stay-at-home order may have compromised Mr. Parnas’ right to a grand

jury selected from a fair cross section of the community. Accordingly, Mr. Parnas respectfully

requests access to the records and papers used in connection with the constitution of the Master

and Qualified Jury Wheels in the United States District Court for the Southern District of New

York, pursuant to the Fifth and Sixth Amendments to the United States Constitution and the

Jury Selection and Service Act (“JSSA”), 28 U.S.C. §§ 1867(a) and (f).

       Mr. Parnas does not seek any personal identifying information for the individuals whose

records are maintained by the jury clerk’s office. As such, the full set of records should be

provided in the manner requested below. See United States v. Saipov, 17-cr-722 (VSB), 2020 WL

915808, at *3 (S.D.N.Y. Feb. 26, 2020) (granting similar request in full).

In an effort to resolve their questions regarding the grand jury quorum, procedure for protecting

against the use of certain misleading information, and the selection and composition of the grand

jury, the defendants first conferred with the Government by phone, and thereafter, per its

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request, Mr. Parnas submitted a letter on behalf of all the defendants, requesting discovery on

these subjects. See Exh. H.

         Particularly, the defendants request that the Court order the Government to produce

information related to the grand jury quorum, the “streamlining” of Count One of the original

Indictment into its present form, and the fair-cross section requirements of the Sixth

Amendment. To the extent that the USAO SDNY is already in possession of any of the materials

requested below, and to expedite this process and conserve judicial resources, we request

voluntary production of these materials. The requested materials are necessary to properly

challenge the jury selection procedures used in this district.

         As to the quorum, the defendants respectfully request that the Court order the

Government to produce the following items:

         1.     Confirmation that there was continuity in the grand jurors between the initial and

second presentments;

         2.     Confirmation that at least 12 of the jurors who were present on September 18,

2020 (the date the first superseding indictment was returned) were also members of the grand

jury on or before October 9, 2019 (the day the original indictment was returned);

         3.     If there were grand jurors who were present for the return of the first superseding

indictment but not the original indictment, an explanation of what steps the Government took to

present these jurors with all testimony and evidence upon which the previous indictment was

based;

         4.     Confirmation as to whether the grand jury testimony upon which the first

indictment had been returned was read to these jurors, or instead, the Government simply read

the prior indictment.


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       5.      Confirmation whether or not all of the evidence supporting the original charges

was made available to the new jurors;

       6.      If any arguably attorney-client privileged communications were presented to the

grand jury that returned the superseding indictment, the basis for the Government’s assertion

that this information was not privileged.

       With respect to the “streamlining” of Count One of the original indictment to excise all

reference in the superseding indictment to the alleged Ukrainian foreign influence plot to remove

the former U.S. Ambassador to Ukraine, the defendants request that the Court order the

Government to disclose the following items:

       1.      Identify whether any information or testimony of the kind described by Attorney

General Barr as having the “providence” and “credibility” problems presented by “information

coming in about Ukraine,” none of which could be received “at face value,”63 was presented to

the grand jury that returned the original indictment;

       2.      If any such information or testimony was originally presented, please identify

whether any of this evidence was withdrawn or not presented during the subsequent presentment

the led to the first superseding indictment;

       3.      If any such information or testimony was originally presented, then subsequently

withdrawn or not presented, whether grand jurors received any instructions or warnings related

to the potential credibility problems posed by this evidence   including credibility problems

related to any agents responsible for the gathering of this evidence;


63See ABC News Politics (@ABCPolitics), TWITTER (Feb. 10, 2020, 12:29pm),
https://twitter.com/ABCPolitics/status/1226921058051219464?ref_src=twsrc%5Etfw%7Ctwc
amp%5Etweetembed%7Ctwterm%5E1226921058051219464%7Ctwgr%5E%7Ctwcon%5Es1_
&ref_url=https%3A%2F%2Fabcnews.go.com%2FPolitics%2Fag-barr-doj-review-giuliani-
documents-info-ukraine%2Fstory%3Fid%3D68884719.
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       4.      Any such information or testimony that was originally presented, then

subsequently withdrawn or not presented;

       5.      If any such information or testimony was originally presented, then subsequently

withdrawn or not presented, confirmation of whether any of this information was relied upon in

obtaining any of the search warrants in this case and, if so, which ones.

       6.      If any such information or testimony was presented in seeking the first indictment

but later withdrawn or not presented, how many grand jurors who heard the presentment of this

evidence in the original were present at the time of the return of the superseding indictment.

       Finally, as to the defendants’ assertion that they have been denied their constitutional

rights to a grand jury that consists of a “fair cross section” of the community, we request

production of the following information:

       1.      Which jury division was chosen for the grand jury in this case.

       2.      The specific location where the grand jury sat.

       3.      Whether or not any aspect of the grand jury presentment was conducted

remotely, and, if so, whether grand jurors ever appeared remotely.

       4.      A description of any changes from the previous procedures or from the Jury Plan

for the grand jury or creation of the grand jury because of the Covid-19 pandemic.

       5.      Any order of the Court that affects the previous procedures or the Jury Plan for

the grand jury or creation of the grand jury because of the Covid-19 pandemic.

       6.      To the extent known, describe work done, contact information, and

communications with any vendors in the creation of the Master and Qualified Jury Wheels used

to summon grand jurors in this case.

       7.      The Jury Plan for the Southern District of New York currently in effect and, if

different in any respect, at the time grand jurors were summoned in this case.
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        8.      A description of the reason(s) for the choice of jury division for the grand jury in

this case.

        9.      Any “AO-12 form” or “JS-12 form” created which relates to the District and

Divisional Master Jury Wheels and Qualified Jury Wheels that were used to summon the grand

jurors who returned the indictment in this case as required by 28 U.S.C. § 1863(a).

        10.     Any other statistical or demographic analyses produced to ensure the quality and

compliance of the Master Jury Wheels and Qualified Jury Wheels that were used to summon

grand jurors in this case with the Jury Plan, Jury Selection and Service Act and constitutional

requirements.

        11.     The date when the Master Jury Wheel that was used to summon grand jurors in

this case was refilled as described in the Jury Plan Section III B.

        12.     The record of the steps, numbers, and calculations as described in the Jury Plan

Section II A.

        13.     The general notice explaining the process by which names are periodically and

randomly drawn as described in the Jury Plan Section III D.

        14.     The calculation of the division of jurors from Westchester, Putnam, and Rockland

Counties to reasonably reflect the relative number of registered voters as described in the Jury

Plan Section IV B.

        15.     The procedures implemented related to prospective jurors who do not respond to

a juror qualification form or have their juror qualification form returned from the Postal Service

as undeliverable as described in the Jury Plan Section III E.

        16.     The date when grand jurors were summoned in this case.




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       17.     The number of persons summoned from the Qualified Jury Wheel to be

considered as grand jurors in this case.

       18.     The District, Manhattan Division, and White Plains Division Master Jury Wheel

data as described in the Jury Plan Sections III A, III B and III C in electronic and accessible form

that includes Juror Number, Race, Gender, Hispanic Ethnicity, Year of Birth, Zip Code, City,

County and Jury Division.

       19.     The District, Manhattan Division, and White Plains Division Qualified Jury

Wheel data as described in the Jury Plan Section III D in electronic and accessible form that

includes Juror Number, Race, Gender, Hispanic Ethnicity, Year of Birth, Zip Code, City,

County and Jury Division.

       20.     Status Codes for potential jurors who were selected from the Master Jury Wheel

for qualification who either had their qualification form returned by the postal service, did not

respond or were disqualified or exempted from jury service as described in the Jury Plan. The

data should be in electronic and accessible form that includes Juror Number, whether the form

was returned undeliverable, whether the form was not returned, Reason for Disqualification,

Race, Gender, Hispanic Ethnicity, Year of Birth, Zip Code, City, County, and Jury Division.

       21.     The Juror Number only (and not Name or Address) for persons selected as

potential grand jurors in this case.

       22.     The source of data in electronic form for the Master Jury Wheel used to summon

grand jurors in this case as described in the Jury Plan Sections I (4) and III A (voter registration

list). The data should include, as available, Race, Gender, Hispanic Ethnicity, Year of Birth, Zip

Code, City, County, and Jury Division but not any personal information or information that

could be used to identify any individual such as Name or Address.


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       23.     The juror qualification and summons forms for persons summoned to potentially

become grand jurors in this case.

       24.     The disposition of each summoned potential grand juror in this case as to excusal,

deferment, disqualification or selection as described in the Jury Plan.

       Mr. Parnas also seeks leave to supplement his motion to dismiss once he had had an

opportunity to inspect the grand jury records that are the subject of the above request. Once

these materials are obtained, the defendants will analyze the records with the assistance of an

expert to determine whether the grand jury plan procedures violated their right to a grand jury

“selected at random from a fair cross-section of the community.” 28 U.S.C § 1861; see also 28

U.S.C. §§ 1863(b)(3), 1866(f).


   III.      SEVERANCE OF COUNTS IS REQUIRED

       The superseding indictment charges three “buckets" of criminal activity, which Mr.

Parnas argues are each improperly joined with the others. Counts One, Two and Three

comprise the so-called “straw donor counts,” Counts Four, Five and Six the “foreign donor

counts,” and Count Seven the “Fraud Guarantee” wire fraud count. Mr. Parnas argues that

these offenses are improperly joined under Fed. R. Crim. P. 8(a), because they are not based

upon the same acts or transactions, nor part of a common scheme or plan, nor of a similar

character. There is an insufficient logical connection between the groups of counts, and different

evidence is required to prove each group. See, e.g., United States v. Litwok, 678 F.3d 208, 216 17 (2d

Cir. 2012) (improper joinder of fraud and tax counts where the fraud and unreported income

were not connected); United States v. Tubol, 191 F.3d 88, 95 (2d Cir. 1999) (finding two robbery

counts to have been improperly joined where each involved “distinctly different methods” and

“distinctly different victims”). Furthermore, introduction of evidence relevant as to some counts

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would improperly taint the jurors’ consideration of the others. Particularly, introduction of

evidence pertaining to the Fraud Guarantee wire fraud charged in Count Seven would be

unfairly and irremediably prejudicial to Mr. Parnas’s defense of both the straw donor and foreign

donor counts.

          For these reasons, Mr. Parnas requests a severance of Counts One, Two and Three from

Counts Four, Five and Six, and severance of Count Seven from all other counts. Mr. Parnas does

not seek any severance from his codefendants other than that necessitated by the requested

severance of offenses.

    IV.        ALL BRADY AND GIGLIO MATERIALS SHOULD BE PRODUCED
               FORTHWITH

          The Government should be ordered to produce immediately all material that is favorable

or exculpatory under Brady v. Maryland, or impeaching under Giglio v. United States, which is

currently in its possession, and to continue to produce all Brady and Giglio material immediately

upon discovery should any such additional evidence become known. See generally, United States v.

Nejad, 18-cr-00224 (AJN) 2020 WL 5549931, at 2 3* (S.D.N.Y, Sept. 16, 2020).

          A.     Applicable Law

          The Government has a duty to disclose all material evidence favorable to a criminal

defendant. United States v. Madori, 419 F.3d 159, 169 (2d Cir. 2005) (citing Brady v. Maryland, 373

U.S. 83, 87 (1963)); see also Giglio v. United States, 405 U.S. 150, 154 55 (1972) (Brady includes

material that can be used to impeach prosecution witnesses). When the government violates this

duty and obtains a conviction, it deprives the defendant of his or her liberty without due process

of law. See, e.g., United States v. Rivas, 377 F.3d 195, 199 (2d. Cir. 2004). at 199.

          Brady material need not be admissible to require production, if it "could lead to admissible

evidence" or "would be an effective tool in disciplining witnesses during cross-examination by

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refreshment of recollection or otherwise.” See, e.g., United States v. Gil, 297 F.3d 93, 104 (2d

Cir.2002). Indeed, in United States v. Rivas, the Second Circuit granted a new trial where the

suppressed Brady evidence was inculpatory as well as exculpatory, because its exculpatory

character harmonized with the theory of the defense case. 377 F.3d at 199 200.”

        "A Brady violation occurs when the government fails to disclose evidence materially

favorable to the accused." Youngblood v. West Virginia, 547 U.S. 867, 869 (2006). Evidence is

deemed withheld under Brady even when it is "known only to police investigators and not to the

prosecutor." Kyles v. Whitley, 514 U.S. 419, 438 (1995). Evidence is favorable if it is either

exculpatory or impeaching. See, e.g., Strickler v. Greene, 527 U.S. 263, 281 82 (1999). Evidence is

material if "there is a reasonable probability that, had the evidence been disclosed to the defense,

the result of the proceeding would have been different." Youngblood, 547 U.S. at 870 (internal

quotation marks omitted). However, a "`showing of materiality does not require demonstration

by a preponderance of the evidence that disclosure of the suppressed evidence would have

resulted ultimately in the defendant's acquittal,'" id. (quoting Kyles, 514 U.S. at 434), but only a

"`showing that the favorable evidence could reasonably be taken to put the whole case in such a

different light as to undermine confidence in the verdict,'" Youngblood, 547 U.S. at 870 (quoting

Kyles, 514 U.S. at 435). The assessment of materiality is made in light of the entire record. United

States v. Agurs, 427 U.S. 97 (1976).

        The Due Process clause of the United States Constitution requires the Government to

disclose favorable evidence to a defendant where it is material either to guilt or to punishment. See

Brady, 373 U.S. at 87. Even if this evidence is only in the possession of investigating officers and

not in the direct possession of the prosecutors, it must be produced. See Kyles at 419. Favorable

evidence includes both evidence that tends to exculpate the accused, see id., as well as evidence

that is useful to impeach the credibility of a government witness. See Giglio 405 U.S. at 154. As the
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Second Circuit made clear nearly twenty years ago, Brady and Giglio material must be provided

by the Government “in time for its effective use at trial.” In re United States (U.S. v. Coppa), 267 F.3d

132, 146 (2d Cir. 2001).

        Prosecutors are required to turn over exculpatory and impeachment evidence whether or

not requested by the defense. Brady v. Maryland, 373 U.S. at 87; Giglio v. United States, 405 U.S.

[150,] 154 55 (1972); Tate v. Wood, 963 F.2d 20, 25 (2d Cir.1992). This includes not only

evidence that goes towards negating a defendant’s guilt but also any information that if disclosed

would affect the outcome of the case.

        Moreover, merely because the government may consider any of this evidence not credible

does not mean that it is not Brady. It is not for the government to determine whether Brady

evidence is credible or not. It must be disclosed for the defense to investigate regardless of

whether the government considers it credible. See Mendez v. Artuz, No. 98 Civ. 2652 (LMM) (A),

2000 WL 722613, at *14 (S.D.N.Y. June 6, 2000), report and recommendation adopted by

Mendez v. Artuz, No. 98-CIV-.265, 2000 WL 1154320 (S.D.N.Y. Aug. 14, 2000), aff'd by Mendez v.

Artuz, 303 F.3d 411 (2d Cir. 2002) ("If the evidence is favorable to the accused, * * * then it must

be disclosed, even if the prosecution believes the evidence is not thoroughly reliable."). The law

requires the government to timely provide Brady information to enable the defense to fully

explore and exploit this information. Grant v. Alldredge, 498 F.2d 376, 382 (2d Cir. 1974); United

States v. Coppa, 267 F.3d 132 (2d Cir. 2001); United States v. Gil, 297 F.3d 93 (2d Cir. 2002); United

States v. Shvarts, 90 F. Supp. 2d 219 (E.D.N.Y. 2000) (Glasser, J.).

        Prosecutors are to take a broad view of materiality and err on the side of disclosing

exculpatory and impeaching evidence. Kyles, 514 U.S. at 439. Furthermore, Justice Department




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policy encourages prosecutors to disclose these types of evidence even when its admissibility is a

close question. See, e.g., Justice Manual 9-5.002    Criminal Discovery.

       For these reasons, and given the difficulties of preparing a defense against multiple

witnesses during a pandemic, Mr. Parnas respectfully requests that the Government be required

to produce all Brady and Giglio materials immediately, so that the defense can make meaningfully

use of them in advance of trial.

       B.      Law Applied to Facts

       Mr. Parnas notes that the Government has produced limited materials to the defendants

under the rubric of Brady. We believe these productions to be incomplete, for many of the reasons

set forth by counsel to co-defendant Kukushkin, and therefore request that the Court order the

Government to produce the following Brady and Giglio evidence, to the extent it is in their

possession, forthwith:

               General Brady Requests

       1.      Any information that is inconsistent with any element of any crime charged or

that establishes a recognized affirmative defense, regardless of whether the Government believes

such information will make the difference between conviction and acquittal of the defendant for

a charged crime;

       2.      Any information that either casts a substantial doubt upon the accuracy of any

evidence    including but not limited to witness testimony    the Government intends to rely on to

prove an element of any crime charged, or might have a significant bearing on the admissibility

of prosecution evidence, regardless of whether it is likely to make the difference between

conviction and acquittal of the defendant for a charged crime, and regardless of whether the

information subject to disclosure would itself constitute admissible evidence.


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        3.      All items of information that, although when viewed in isolation may not

reasonably be seen as meeting the standards for Brady disclosure, but which may in conjunction

with other items have such an effect.

                Giglio Requests

        1.      Prior inconsistent statements, including inconsistent attorney proffers. See United

States v. Triumph Capital Group, 544 F.3d 149 (2d Cir. 2008) (Convictions reversed due to

suppression of “material exculpatory and impeaching evidence.”);

        2.      Statements or reports reflecting witness statement variations;

        3.      Benefits, rewards or emoluments provided to witnesses including, but not limited to:

(a) dropped or reduced charges; (b) immunity; (c) expectations of downward departures or

motions for reduction of sentence; (d) assistance in a state or local criminal proceeding; (e)

considerations regarding forfeiture of assets; (f) stays of deportation or other immigration status

considerations; (g) S-Visas; (h) monetary benefits; (i) conjugal arrangements; (j) non-prosecution

agreements; (k) meals during proffers; (l) letters to other law enforcement officials (e.g. state

prosecutors, parole boards) setting forth the extent of a witness’s assistance or making substantive

recommendations on the witness’s behalf; (m) relocation assistance; (n) consideration or benefits

to culpable or at risk third-parties;

        4.      Conditions that could affect the witness’s bias such as: (a) animosity toward

defendant; (b) animosity toward a group of which the defendant is a member or with which the

defendant is affiliated; (c) relationship with any victim; (d) known but uncharged criminal conduct

(that may provide an incentive to curry favor with a prosecutor); (e) prior acts under Fed.R.Evid.

608; (f) prior convictions under Fed.R.Evid. 609; (g) known substance abuse or mental health

issues; and (h) other issues that could affect the witness’s ability to perceive and recall events.
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        5.      All variances in a witness’s statements, even if they are within the same interview,

or made during preparation to testify in a grand jury or at a trial;

        6.      All law enforcement agent or prosecutors ’notes that are materially different from

the final memorandum or report of the subject matter contained in the notes.

                Specific Brady/Giglio requests

        1.      All evidence related to the criminal histories of government witnesses, whether

foreign or domestic, including but not limited to rap sheets, conviction records, plea agreements,

and cooperation agreements.

        2.      Any promises, inducements, payments, emoluments, rewards or threats made to

witnesses to gain evidence, information, or cooperation in the investigation or prosecution;

        3.      All potential impeachment information, including information that either casts a

substantial doubt upon the accuracy of any evidence        including witness testimony     the

prosecutor intends to rely on to prove an element of any crime charged, or might have a

significant bearing on the admissibility of prosecution evidence. This information may include

but is not strictly limited to: (a) specific instances of conduct of a witness for the purpose of

attacking the witness' credibility or character for truthfulness; (b) evidence in the form of opinion

or reputation as to a witness' character for truthfulness; (c) prior inconsistent statements; and (d)

information that may be used to suggest that a witness is biased;

        4.      Any statements, oral, electronic, written, recorded or otherwise, made by

individuals interviewed by the Government, which reflect a belief that their participation with

Mr. Parnas in any aspect of the offenses alleged in the indictment was not illegal;




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        5.       Any information related to the decisions not to prosecute other individuals or

entities with the Federal Election Act violations charged in the indictment, including but not

limited to America First Action, and others;

        6.       Any information reflecting the intervention of Attorney General William P. Barr

in the decisionmaking process relating to the investigation, charging, indictment, or prosecution

of Mr. Parnas.

        The items requested above are essential to preparing Mr. Parnas’s trial defense, and to

facilitate their meaningful use and application, disclosure of these items if required forthwith if

possessed, and promptly upon receipt of any such additional materials.

                 V.         JOINDER IN THE MOTIONS OF CO-DEFENDANTS

        To the extent that they are not in conflict, Mr. Parnas joins in the motions of his co-

defendants, particularly those of Mr. Fruman as they relate to the Government’s having used

attorney-client privileged materials in search warrant affidavits thus requiring suppression of all

improperly obtained fruits, and compelling production of still-outstanding evidence, including a

witness and exhibit list.

                             VI.   RESERVATION OF RIGHTS

        Mr. Parnas reserves the right to bring additional motions, based upon additional facts or

evidence that may become available or known to the defense.




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                                         CONCLUSION

       For the reasons set forth herein, it is respectfully requested that the Court grant Mr.

Parnas's pre-trial motions in entirety, along with any other relief that is necessary and proper.

Dated: New York, New York
       December 10, 2020


                                                      Respectfully submitted,


                                                      Joseph A. Bondy
                                                      Stephanie R. Schuman
                                                      Counsel to Lev Parnas




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